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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

  IN RE:                                          §
                                                  §
  MAUREEN L. ADAIR                                §               Case No. 18-10554
      Debtor                                      §               (Chapter 11)

       OBJECTION TO PROOF OF CLAIM [NO. 9] FILED BY DEUTSCHE BANK
     NATIONAL TRUST COMPANY AS TRUSTEE FOR LONG BEACH MORTGAGE
                           LOAN TRUST 2001-2

  This is an objection to your claim in this bankruptcy case. This objection asks the Court to
  disallow (eliminate), reduce, or modify your claim as set forth in this objection. If you do
  not file a written response to this objection within 30 days from the date of mailing of this
  objection, the Court may disallow (eliminate), reduce, or modify your claim as set forth in
  this objection, without a hearing being held.

  Any response to this objection must explain your position and be timely filed with the
  United States Bankruptcy Clerk, Western District of Texas, 903 San Jacinto, Rm. 322,
  Austin, TX 78701. If a timely response is filed, the Court will then set a hearing on the
  objection and you will be provided with notice of the date, time, and place of the hearing. If
  you do not attend the hearing, the Court may decide that you do not oppose the objection
  to your claim.

  TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:
         COMES NOW, Maureen L. Adair (“Adair” or “Debtor”), Debtor herein, and files this
  Objection to Proof of Claim [No. 9] Filed by Deutsche Bank National Trust Company as Trustee
  for Long Beach Mortgage Loan Trust 2001-2 (“Objection”) and in support thereof would show
  the following:
         1.        Debtor filed her petition on April 30, 2018.

         2.        Deutsche Bank National Trust Company as Trustee for Long Beach Mortgage

  Loan Trust 2001-2 filed Claim No. 9 in the amount of $1,479,343.94. The claim is based on a

  mortgage loan.

         3.        The loan was originated by Long Beach Mortgage and apparently transferred to

  Washington Mutual. When Washington Mutual failed, the FDIC was appointed as receiver and

  the loan was transferred to JP Morgan Chase Bank and then to Deutsche Bank National Trust

  Company.
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           4.        The loan history attached to the proof of claim, which begins on December 22,

  2003, does not show any payments received from the Debtor. This cannot be correct. In a

  previous bankruptcy case, No. 04-11246, the lender filed a proof of claim showing a principal

  balance of $545,208.41. However, in Case No. 05-19014 and in the present case, the lender has

  filed claims with a principal balance of $542,941.61. The principal balance could not have

  declined without some payments being made. The Debtor’s CPA has identified $25,097.05 in

  payments which have not been credited by the lender, as shown by the attached Exhibit A.

  Further, a loan history obtained through the Consumer Financial Protection Bureau, which is

  attached as Exhibit B, shows payments which do not appear on the loan history attached to the

  claim. Finally, the Trustee’s Final Report in Case No. 04-11246, which is attached as Exhibit C,

  shows payments of $4,573.33 on the arrearage claim.

           5.        The payment history submitted by lender shows that Debtor has not made a

  payment in over fourteen years.       Based on this record, the loan should be barred by the four

  year statute of limitations under Tex. Civ. Prac. & Rem. Code §16.035.

           6.        The payment history shows post-petition attorneys’ fees incurred in the amount of

  $11,686.06. Given that lender has not filed any pleadings other than its proof of claim, these

  fees appear to be excessive.

           7.        Debtor has requested that lender mediate this account but has not received a

  response.

           WHEREFORE, PREMISES CONSIDERED, Debtor prays that the claim of Deutsche

  Bank National Trust Company as Trustee for Long Beach Mortgage Loan Trust 2001-2 be denied

  in its entirety.
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                                             Respectfully Submitted,

                                             BARRON & NEWBURGER, P.C.
                                             7320 N. MoPac Expy. Suite 400
                                             Austin, Texas 78731
                                             (512) 476-9103, Ext. 220
                                             (512) 476-9253 Facsimile
                                             bbarron@bn-lawyers.com

                                      By:    /s/ Stephen W. Sather
                                             Stephen W. Sather (SBN 17657520)

                                 CERTIFICATE OF SERVICE

           By my signature below, I hereby certify that on September 22, 2018, a true and correct
  copy of the foregoing document was served on the parties listed below by United States Mail,
  first class, postage prepaid, and to the parties on the attached list.

  Deutsche Bank National Trust Company as
  Trustee for Long Beach Mortgage Loan Trust 2001-2
  c/o Select Portfolio Servicing, Inc.
  P.O. Box 65250
  Salt Lake City, UT 84165-0250


                                                     /s/ Stephen W. Sather_________________
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                                                                                                  HONDA FINANCE
0542-1                                                            22
                                             903 SAN JACINTO, SUITE 322               P O BOX 168088
Case 18-10554-hcm                            AUSTIN, TX 78701-2450                    IRVING TX 75016-8088
Western District of Texas
Austin
Fri Sep 21 16:43:59 CDT 2018
Cheyenne Zokaie                              City of Austin                           City of Austin dba Austin Energy
1255 W. 15th St, Ste 1060                    P.O. Box 2267                            721 Barton Springs RD
Plano, TX 75075-4220                         Austin, TX 78783-0001                    AUSTIN TX 78704-1145



Deutsche Bank National Trust                         Deutsche Bank National Trust Co                      Internal Revenue Service
The Crescent                                         c/o Shapiro Schwartz LLP                             PO Box 7346
200 Crescent Court                                   13105 Northwest Fwy #1200                            Philadelphia PA 19101-7346
Dallas, TX 75201-1846                                Houston TX 77040-6355


(p)INTERNAL REVENUE SERVICE                          PRA Receivables Management, LLC                      (p)PORTFOLIO RECOVERY ASSOCIATES LLC
CENTRALIZED INSOLVENCY OPERATIONS                    PO Box 41021                                         PO BOX 41067
PO BOX 7346                                          Norfolk, VA 23541-1021                               NORFOLK VA 23541-1067
PHILADELPHIA PA 19101-7346


Redacted Hospital Of Austin                          Scott Elkin, DO                                      Select Portfolio Servicing Inc
Resurgent Capital Services                           3705 Medical Parkway, Ste 450                        c/o Shapiro Schwartz LLP
PO Box 1927                                          Austin, TX 78705-1024                                13105 Northwest Freeway #1200
Greenville, SC 29602-1927                                                                                 Houston TX 77040-6355


Select Portfolio Servicing, Inc.                     Travis County                                        Travis County
PO BOX 65250                                         % Travis Co. Atty’s Office                           c/o Kay D. Brock
Salt Lake City, UT 84165-0250                        P.O. Box 1748                                        P.O. Box 1748
                                                     Austin, Texas 78767-1748                             Austin, TX 78767-1748


United States Trustee - AU12                         University Federal Credit Union                      Victoria Soto
United States Trustee                                P.O. Box 9350                                        1 Chsiholm Trail, Suite 150
903 San Jacinto Blvd, Suite 230                      Austin, TX 78766-9350                                Round Rock, TX 78681-5090
Austin, TX 78701-2450


Maureen L Adair                                      Stephen W. Sather
2524 Spring Lane                                     Barron & Newburger, P.C.
Austin, TX 78703-1743                                7320 N MoPac Expy
                                                     Suite 400
                                                     Austin, TX 78731



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


American Honda Finance Corporation                   Internal Revenue Service                             Portfolio Recovery Associates, LLC
National Bankruptcy Center                           c/o Special Procedures                               POB 41067
P.O. Box 168088                                      300 E. 8th St STOP5026AUS                            Norfolk VA 23541
Irving, TX 75016-8088                                Austin, TX 78701
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                  The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Mark Fishman                                       (u)Paul Waller                                       End of Label Matrix
Address Unkown                                                                                             Mailable recipients   22
                                                                                                           Bypassed recipients    2
                                                                                                           Total                 24
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                           ExhibitEntered
                                   A      09/21/18 17:10:31 Main Document Pg 6 of
                                       22
  Trisha T Bonilla CPA
  200 2nd Ave S PMB 814
  St Petersburg, FL 33707
                                                              June 21, 2018


  CFPB Complaint Number: 180131-2821294


  Dear Sir or Madam:


  This letter is written in response to the complaint by my client, Maureen L Adair MD,
  against JPMORGAN CHASE & CO. I was provided a list of payments by Dr. Adair that
  were submitted to Washington Mutual Bank during the time period 2002-2004. I
  examined both the records provided by your organization on March 8, 2018 against the
  client-provided list of canceled checks. According to my examination of the records
  provided the following checks were not credited to their account totaling $25,097.05.


   Check #                     Date                         Amount
   4368                        10/30/2002                   $1800
   4866498036                  1/24/2003                    $3400
   6024                        2/25/2003                    $450
   6026                        2/25/2003                    $1260
   4645                        10/31/2003                   $2200
   6404                        10/31/2003                   $1600
   6436                        12/13/2003                   $3000
   4663                        12/13/2003                   $5700
   0336105248                  10/26/2004                   $687.05
   4867123663                  12/7/2004                    $5000

  I have attached the same JP Morgan Chase accounting records submitted as evidence,

  Please do not hesitate to contact me at 305-975-8010 should you have any further
  questions.

  Regards,




  Trisha T Bonilla, CPA
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                                   Exhibit B
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                                   Exhibit C
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                                             22
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

   IN RE: JOHN B HERTENBERGER                                                               CASE NO. 04-11246-FM
          MAUREEN L ADAIR
   DEBTOR(S)                                                                               CHAPTER 13

                                                FINAL REPORT AND ACCOUNT


      This case was commenced on Mar 02, 2004. The Chapter 13 Plan is not confirmed.
 This case was concluded on Dec 14, 2004.

      This case is      DISMISSED PRIOR TO CONFIRMATION                                                                        .
 The Trustee has maintained a detailed record of all receipts, including the source
 or other identification of each receipt, and of all disbursements.

 TOTAL RECEIPTS (Amount paid to the Trustee by or for the Debtor(s) for the
 benefit of creditors): $ 25,013.95 .

 DISBURSEMENTS TO CREDITORS
 _____________________________________________________________________________________________________________________________


 CREDITOR NAME                         CLASSIFICATION                CLAIM ALLOWED        PRINCIPAL PD.    INTEREST PD.     BALANCE DUE


   INTERNAL REVENUE SERVICE               SECURED                             69,259.06         7,143.85              .00          62,115.21
   SILVERLEAF RESORTS INC                 DIRECT PAY                                .00              .00              .00                 .00
   LONG BEACH MORTGAGE CO                 DIRECT PAY                         537,193.26              .00              .00                 .00
   LONG BEACH MORTGAGE CO                 ARREARAGE                           44,603.22         4,573.33              .00          40,029.89
   PYRAMID PROPERTIES INC                 NOT FILED                                 .00              .00              .00                 .00
   INTERNAL REVENUE SERVICE               PRIORITY                            94,379.29         8,343.54              .00          86,035.75
   INTERNAL REVENUE SERVICE               UNSECURED                           64,097.96              .00              .00          64,097.96
   ECAST SETTLEMENT CORPORATION           UNSECURED                            5,528.63              .00              .00           5,528.63
   CAPITAL ONE FINANCIAL                  UNSECURED                            1,457.74              .00              .00           1,457.74
   SPORTS PERFORMANCE INTERNATION         NOT FILED                                 .00              .00              .00                 .00
   U S ATTORNEY WESTERN DIST TX           NOTICE ONLY                               .00              .00              .00                 .00
   ATTORNEY GENERAL OF THE US             NOTICE ONLY                               .00              .00              .00                 .00
   USAA FEDERAL SAVINGS BANK              UNSECURED                            1,684.44              .00              .00           1,684.44
   CAPITAL ONE FINANCIAL                  UNSECURED                            1,035.35              .00              .00           1,035.35




  SUMMARY OF CLAIMS ALLOWED AND PAID
____________________________________________________________________________________________________________________________
             SECURED        PRIORITY        GENERAL      OTHER
                            UNSECURED       UNSECURED    EXPENSE         TOTAL
____________________________________________________________________________________________________________________________


CLAIM AMT.   651055.54      94379.29        73804.12                     724859.66
PRIN. PAID   11717.18       8343.54         0                            20060.72
INT. PAID    0              0               0                            0


                                   TOTAL PAID (PRINCIPAL AND INTEREST)   20060.72
____________________________________________________________________________________________________________________________
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 HERTENBERGER                             22                     CASE NO. 04-11246-FM



OTHER DISBURSEMENTS UNDER ORDER OF COURT:

DEBTOR'S ATTORNEY                  FEE ALLOWED   FEE PAID

CANTU & HICKSON                   1,500.00        1,500.00
___________________________________________________________________________________
COURT COSTS AND OTHER EXPENSES OF ADMINISTRATION:

TRUSTEE EXPENSE AND COMPENSATION FUND: $ 1,324.33

REFUNDS TO DEBTOR(S): $ 2,128.90

     Wherefore, the Trustee requests that a Final Decree be entered discharging
the Trustee and releasing the Trustee's surety from any and all liability on
account of the proceeding, and closing the estate.


                             /s/ Deborah Langehennig
                            _________________________________________
                            Deborah Langehennig, Trustee
                            3801 Capital of Texas Hwy S., Suite 320
                            Austin, Texas 78704-6640
                            (512) 912-0305
